      Case 2:15-md-02641-DGC Document 6040-1 Filed 05/24/17 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ARIZONA


IN RE: BARD IVC FILTER PRODUCTS
LIABILITY LITIGATION
____________________________________              MDL No. 2:15-MD-02641

This Document Relates to:

JIMMY CARR                                        Civil Action No. 2:17-cv-00446-PHX-DGC

               Plaintiff,                         ORDER OF DISMISSAL
                                                  WITHOUT PREJUDICE
v.

C.R. BARD AND BARD PERIPHERAL
VASCULAR, INC.

            Defendants.
______________________________________________________________________________


       Considering the parties’ Stipulation of Dismissal Without Prejudice of All Claims of

Plaintiff, Jimmy Carr

       IT IS HEREBY ORDERED, ADJUDGED, AND DECLARED that all claims against

Defendants C.R. Bard and Bard Peripheral Vascular, Inc. in Civil Action No. MD-15-02641

(Member Case 2:17-cv-00446) are hereby dismissed without prejudice as to the refiling of same,

and each party shall bear its own costs.



DATED: ___________________                        __________________________________
                                                  Honorable Judge David G. Campbell
                                                  Judge, United States District Court
